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   AF ApprovaI J)!;...Pw- 5Ctv                                     Chief Approval    ~
                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

   UNITED STATES OF AMERICA

         V.                                 CASE NO. 8:20-cr-366-WFJ-SPF

   SEBASTIEN VACHON-DESJARDINS

                                    PLEA AGREEMENT

          Pursuant to Fed. R. Crim. P. 1 l(c), the United States of America, by Roger B.

   Handberg, United States Attorney for the Middle District of Florida, and the

   defendant, Sebastien Vachon-Desjardins, and the attorney for the defendant, Mark

   O'Brien, mutually agree as follows:

   A.     Particularized Terms

          1.     Counts Pleading TQ

                 The defendant shall enter a plea of guilty to Counts One through Four

   of the Indictment. Count One charges the defendant with Conspiracy to Commit

   Computer Fraud, in violation of 18 U.S.C. § 371. Count Two charges the defendant

   with Conspiracy to Commit Wire Fraud, in violation of 18 U.S.C. § 1349. Count

   Three charges the defendant with Intentional Damage to a Protected Computer, in

   violation of 18 U.S.C. §§ 1030(a)(5)(A), (c)(4)(A)(i)(I), (c)(4)(A)(i)(VI), and

   (c)(4)(B)(i). Count Four charges the defendant with Transmitting a Demand in

   Relation to Damaging a Protected Computer, in violation of 18 U.S.C. §§

   1030(a)(7)(B), (a)(7)(C), (c)(3)(A).



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         2.     Maximum Penalties

                Counts One and Four carry a maximum sentence of five (5) years'

   imprisonment, a fine of $250,000, a term of supervised release of not more than three

   (3) years. Count Two carries a maximum sentence of twenty (20) years'

   imprisonment, a fine of$250,000, a term of supervised release of not more than three

   (3) years. Count Three carries a maximum sentence of ten (10) years' imprisonment,

   a fine of $250,000, a term of supervised release of not more than three (3) years. In

   addition, Counts One through Four each carry a special assessment of $100 per

   felony count. With respect to certain offenses, the Court shall order the defendant to

   make restitution to any victim of the offense(s), and with respect to other offenses,

   the Court may order the defendant to make restitution to -any victim of the offense(s),

   or to the community, as set forth below.

         3.     Elements of the Offenses

                The defendant acknowledges understanding the nature and elements of

   the offenses with which defendant has been charged and to which defendant is

   pleading guilty. The elements of Count One are:

                First:        two or more persons in some way agreed to try to
                              accomplish a shared and unlawful plan;

                SecQnd:       the Defendant knew the unlawful purpose of the plan and
                              willfully joined in it;

                Three:        during the conspiracy, one of the conspirators knowingly
                              engaged in at least one overt act as described in the
                              indictment; and



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                Four:            the overt act was committed at or about the time alleged
                                 and with the purpose of carrying out or accomplishing
                                 some object of the conspiracy.

   The elements of Count Two are:

                One:             two or more persons, in some way or manner, agreed to
                                 try to accomplish a common and unlawful plan to commit
                                 wire fraud, as charged in the indictment; and

                Two:             the Defendant knew the unlawful purpose of the plan and
                                 willfully joined in it.

   The elements of Count Three are:

                One:             the Defendant knowingly transmitted a program,
                                 information, a code, or a command to a protected
                                 computer without authorization;

                Two:             the Defendant intended to access a protected computer
                                 without authorization and cause damage; and

                Three:           the damage resulted in losses of more than $5,000 during a
                                 one-year period.

   The elements of Count Four are :

                One:             the defendant transmitted in interstate or foreign
                                 commerce any communication containing a demand or
                                 request for money or other thing of value in relation to
                                 damage to a protected computer;

                Two:             the defendant did so with intent to extort money or
                                 anything of value from any person; and

                Three:           Damage to a protected computer was caused to facilitate
                                 the extortion.




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          4.    No Further Charge-5

                If the Court accepts this plea agreement, the United States Attorney's

   Office for the Middle District of Florida agrees not to charge defendant with

   committing any other federal criminal offenses known to the United States

   Attorney's Office at the time of the execution of this agreement, related to the

   conduct giving rise to this plea agreement.

          5.    Mandatory Restitution to Victim oLQffense of Conyictian

                Pursuant to 18 U.S.C. § 3663A(a) and (b), defendant agrees to make full

   restitution to the victim identified in Counts Three and Four of the Indictment.

          6.    Guidelines Sentence

                Pursuant to Fed. R. Crim. P. l l(c)(l)(B), the United States will

   recommend to the Court that the defendant be sentenced within the defendant's

   applicable guidelines range as determined by the Court pursuant to the United States

   Sentencing Guidelines , as adjusted by any departure the United States has agreed to

   recommend in this plea agreement. The parties understand that such a

   recommendation is not binding on the Court and that, if it is not accepted by this

   Court, neither the United States nor the defendant will be allowed to withdraw from

   the plea agreement, and the defendant will not be allowed to withdraw from the plea

   of guilty.

          7.    Acceptance of Responsibility - Three Levels

                At the time of sentencing, and in the event that no adverse information

   is received suggesting such a recommendation to be unwarranted, the United States

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   will not oppose the defendant's request to the Court that the defendant receive a two-

   level downward adjustment for acceptance of responsibility, pursuant to USSG

   §3EI. l(a). The defendant understands that this recommendation or request is not

   binding on the Court, and if not accepted by the Court, the defendant will not be

   allowed to withdraw from the plea.

                Further, at the time of sentencing, if the defendant's offense level prior

   to operation of subsection (a) is level 16 or greater, and if the defendant complies

   with the provisions of USSG §3E 1.1 (b) and all terms of this Plea Agreement,

   including but not limited to , the timely submission of the financial affidavit

   referenced in Paragraph B.5. , the United States agrees to file a motion pursuant to

   USSG §3E 1.1(b) for a downward adjustment of one additional level. The defendant

   understands that the determination as to whether the defendant has qualified for a

   downward adjustment of a third level for acceptance of responsibility rests solely

   with the United States Attorney for the Middle District of Florida , and the defendant

   agrees that the defendant cannot and will not challenge that determination , whether

   by appeal, collateral attack, or otherwise.

         8.     Cooperation - Substantial Assistance to be Considered

                Defendant agrees to cooperate fully with the United States in the

   investigation and prosecution of other persons , and to testify, subject to a prosecution

   for perjury or making a false statement, fully and truthfully before any federal court

   proceeding or federal grand jury in connection with the charges in this case and other

   matters, such cooperation to further include a full and complete disclosure of all

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   relevant information, including production of any and all books, papers, documents,

   and other objects in defendant's possession or control, and to be reasonably available

   for interviews which the United States may require. If the cooperation is completed

   prior to sentencing, the government agrees to consider whether such cooperation

   qualifies as "substantial assistance" in accordance with the policy of the United States

   Attorney for the Middle District of Florida, warranting the filing of a motion at the

   time of sentencing recommending (1) a downward departure from the applicable

   guideline range pursuant to USSG §SKI. I, or (2) the imposition of a sentence below

   a statutory minimum, if any, pursuant to 18 U.S.C. § 3553(e), or (3) both. If the

   cooperation is completed subsequent to sentencing, the government agrees to

   consider whether such cooperation qualifies as "substantial assistance" in accordance

   with the policy of the United States Attorney for the Middle District of Florida,

   warranting the filing of a motion for a reduction of sentence within one year of the

   imposition of sentence pursuant to Fed. R. Crim. P. 35(b). In any case, the

   defendant understands that the determination as to whether "substantial assistance"

   has been provided or what type of motion related thereto will be filed , if any, rests

   solely with the United States Attorney for the Middle District of Florida, and the

   defendant agrees that defendant cannot and will not challenge that determination,

   whether by appeal, collateral attack, or otherwise.

         9.     Use oflnformation - Section IBI.8

                Pursuant to USSG §1Bl.8(a), the United States agrees that no self-

   incriminating information which the defendant may provide during the course of

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   defendant's cooperation and pursuant to this agreement shall be used in determining

   the applicable sentencing guideline range , subject to the restrictions and limitations

   set forth in USSG §IBI.8(b).

          10.     Cooperation - Responsibilities of Parties

                  a.      The government will make known to the Court and other

   relevant authorities the nature and extent of defendant's cooperation and any other

   mitigating circumstances indicative of the defendant's rehabilitative intent by

   assuming the fundamental civic duty of reporting crime. However, the defendant

   understands that the government can make no representation that the Court will

   impose a lesser sentence solely on account of, or in consideration of, such

   cooperation.

                  b.      It is understood that should the defendant knowingly provide

   incomplete or untruthful testimony, statements, or information pursuant to this

   agreement, or should the defendant falsely implicate or incriminate any person, or

   should the defendant fail to voluntarily and unreservedly disclose and provide full ,

   complete, truthful, and honest knowledge, information, and cooperation regarding

   any of the matters noted herein, the following conditions shall apply:

                          (1)     The defendant may be prosecuted for any perjury or false

   declarations, if any, committed while testifying pursuant to this agreement, or for

   obstruction of justice.

                          (2)     The United States may prosecute the defendant for the

   charges which are to be dismissed pursuant to this agreement, if any, and may either

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   seek reinstatement of or refile such charges and prosecute the defendant thereon in

   the event such charges have been dismissed pursuant to this agreement. With regard

   to such charges, if any, which have been dismissed, the defendant, being fully aware

   of the nature of all such charges now pending in the instant case, and being further

   aware of defendant's rights, as to all felony charges pending in such cases (those

   offenses punishable by imprisonment for a term of over one year), to not be held to

   answer to said felony charges unless on a presentment or indictment of a grand jury,

   and further being aware that all such felony charges in the instant case have

   heretofore properly been returned by the indictment of a grand jury, does hereby

   agree to reinstatement of such charges by recision of any order dismissing them or,

   alternatively, does hereby waive, in open court, prosecution by indictment and

   consents that the United States may proceed by information instead ofby indictment

   with regard to any felony charges which may be dismissed in the instant case,

   pursuant to this plea agreement, and the defendant further agrees to waive the statute

   of limitations and any speedy trial claims on such charges.

                        (3)    The United States may prosecute the defendant for any

   offenses set forth herein, if any, the prosecution of which in accordance with this

   agreement, the United States agrees to forego , and the defendant agrees to waive the

   statute of limitations and any speedy trial claims as to any such offenses.

                        (4)    The government may use against the defendant the

   defendant's own admissions and statements and the information and books, papers,




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   documents, and objects that the defendant has furnished in the course of the

   defendant's cooperation with the government.

                          (5)   The defendant will not be permitted to withdraw the guilty

   pleas to those counts to which defendant hereby agrees to plead in the instant case

   but, in that event, defendant will be entitled to the sentencing limitations, if any, set

   forth in this plea agreement, with regard to those counts to which the defendant has

   pled; or in the alternative, at the option of the United States, the United States may

   move the Court to declare this entire plea agreement null and void.

      11.        Forfeiture of Assets

                 The defendant agrees to forfeit to the United States immediately and

   voluntarily any and all assets and property, or portions thereof, subject to forfeiture ,

   pursuant to 18 U .S.C. §§ 98l(a)(l)(C), 982(a)(2)(B), 1030(i), and 28 U .S.C. § 246l(c),

   whether in the possession or control of the United States, the defendant, or

   defendant's nominees.

                The assets to be forfeited specifically include, but are not limited to , an

   order of forfeiture in the amount of at least $21 ,500 ,000, which represents the

   proceeds the defendant admits he obtained, as the result of the commission of the

   offenses to which the defendant is pleading guilty, as well as approximately 27.65

   BTC remaining from the bitcoin previously seized from the defendant's BTC Wallet

   3Pxki6pFFKC12YSn8JtDs3ZrEg3pFTHnHd on or about January 27 , 2021 (the

   27.65 BTC). The United States and the defendant have authorized Canadian

   authorities to transfer the 27 .65 BTC to a wallet owned and controlled by the United

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    States so that it can be held there, pending a final order of forfeiture in this case.

                  The net proceeds from the forfeiture and sale of any specific assets will

    be credited to and reduce the amount the United States shall be entitled to forfeit as

    substitute assets pursuant to 21 U.S.C. § 853(p).

                  The defendant acknowledges and agrees that (1) the defendant obtained

    $21,500,000 as a result of the commission of the offenses and (2) as a result of the

    acts and omissions of the defendant, the proceeds not recovered by the United States

    through the forfeiture of the directly traceable assets listed herein have been

    transferred to third parties and cannot be located by the United States upon the

    exercise of due diligence. Therefore, the defendant agrees that, pursuant to 21

    U.S.C. § 853(p), the United States is entitled to forfeit any other property of the

    defendant (substitute assets), up to the amount of proceeds the defendant obtained,

    as the result of the offense(s) of conviction and, further, the defendant consents to,

    and agrees not to oppose, any motion for substitute assets filed by the United States

    up to the amount of proceeds obtained from commission of the offenses and consents

    to the entry of the forfeiture order into the Treasury Offset Program.

                  The defendant additionally agrees that since the criminal proceeds have

    been transferred to third parties and cannot be located by the United States upon the

    exercise of due diligence, the preliminary and final orders of forfeiture should

    authorize the United States Attorney's Office to conduct discovery (including

    depositions, interrogatories, requests for production of documents, and the issuance




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    of subpoenas), pursuant to Rule 32.2(b)(3) of the Federal Rules of Criminal

    Procedure, to help identify, locate, and forfeit substitute assets.

                  The defendant agrees that forfeiture of substitute assets as authorized

    herein shall not be deemed an alteration of the defendant's sentence and the United

    States shall not be limited to the forfeiture of the substitute assets, if any, specifically

    listed in this plea agreement.

                  The defendant agrees and consents to the forfeiture of these assets

    pursuant to any federal criminal, civil, judicial or administrative forfeiture action.

    The defendant also agrees to waive all constitutional, statutory and procedural

    challenges (including direct appeal, habeas corpus, or any other means) to any

    forfeiture carried out in accordance with this Plea Agreement on any grounds,

    including that the forfeiture described herein constitutes an excessive fine , was not

    properly noticed in the charging instrument, addressed by the Court at the time of

    the guilty plea, announced at sentencing, or incorporated into the judgment.

                  The defendant admits and agrees that the conduct described in the

    Factual Basis below provides a sufficient factual and statutory basis for the forfeiture

    of the property sought by the government. Pursuant to Rule 32.2(b)(4), the

    defendant agrees that the preliminary order of forfeiture will satisfy the notice

    requirement and will be final as to the defendant at the time it is entered. In the

    event the forfeiture is omitted from the judgment, the defendant agrees that the

    forfeiture order may be incorporated into the written judgment at any time pursuant

    to Rule 36.

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                 The defendant agrees to take all steps necessary to identify and locate

   all property subject to forfeiture (including substitute assets) and to transfer custody

   of such property to the United States before the defendant's sentencing. To that end,

   the defendant agrees to make a full and complete disclosure of all assets over which

   defendant exercises control, including all assets held by nominees, to execute any

   documents requested by the United States to obtain from any other parties by lawful

   means any records of assets owned by the defendant, and to consent to the release of

   the defendant's tax returns for the previous five years. The defendant agrees to be

   interviewed by the government, prior to and after sentencing, regarding such assets

   and their connection to criminal conduct. The defendant further agrees to be

   polygraphed on the issue of assets, if it is deemed necessary by the United States.

   The defendant agrees that Federal Rule of Criminal Procedure 11 and USSG § lB 1.8

   will not protect from forfeiture assets disclosed by the defendant as part of the

   defendant's cooperation.

                 The defendant agrees to take all steps necessary to assist the

   government in obtaining clear title to the forfeitable assets before the defendant's

   sentencing. In addition to providing full and complete information about forfeitable

   assets, these steps include, but are not limited to, the surrender of title, the signing of

   a consent decree of forfeiture , and signing of any other documents necessary to

   effectuate such transfers.

                 The defendant agrees that, in the event the Court determines that the

   defendant has breached this section of the Plea Agreement, the defendant may be

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   found ineligible for a reduction in the Guidelines calculation for acceptance of

   responsibility and substantial assistance, and may be eligible for an obstruction of

   justice enhancement.

                 Forfeiture of the defendant's assets shall not be treated as satisfaction of

   any fine, restitution, cost of imprisonment, or any other penalty the Court may

   impose upon the defendant in addition to forfeiture .

                 The defendant agrees that the forfeiture provisions of this plea

    agreement are intended to, and will, survive the defendant, notwithstanding the

   abatement of any underlying criminal conviction after the execution of this

   agreement. The forfeitability of any particular property pursuant to this agreement

   shall be determined as if the defendant had survived, and that determination shall be

   binding upon defendant's heirs, successors and assigns until the agreed forfeiture,

   including the forfeiture of any substitute assets, is final.

          12.    Abandonment of Property - Computer Equipment

                 The United States of America and defendant hereby agree that any

   electronic devices and/ or computers seized from the defendant and currently in the

   custody and/ or control of the Federal Bureau of Investigation or other appropriate

   agency, were properly seized and are subject to forfeiture to the government

   according to 18 U.S.C. § 1030(i), and/or that the computer equipment and

   peripherals constitute evidence, contraband, or fruits of the crime for which he has

   pled guilty. As such, defendant hereby relinquishes all claim, title and interest he has

   in the computer equipment and peripherals to the United States of America with the

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   understanding and consent that the Court, upon approval of this agreement, hereby

   directs the Federal Bureau ofinvestigation, or other appropriate agency, to cause the

   electronic devices and/ or computer equipment described above to be destroyed

   forthwith without further obligation or duty whatsoever owing to defendant or any

   other person.

                 As part of the plea agreement in this case, defendant hereby states under

   penalty of perjury that he is the sole and rightful owner of the property, and that

   . defendant hereby voluntarily abandons all right and claim to and consents to the

   destruction of the following electronic devices and/ or computer equipment seized

   from the defendant's residence on or about January 27, 2021:

                 a.       An Apple iPad 7 tablet, SN#F9FZ4A4OMF3V;

                 b.       A PlayStation gaming console with remote, a USB thumb drive

                          key and an External Hard Drive;

                 c.       An HP Elite Book 8540p Laptop, SN#CND1098TTR;

                 d.       A Nintendo Switch gaming console, SN# XAW70005941134,

                          and Docking Port;

                 c.       An HD SanDisk 2.5" SSD (Model #SDSSDA-120G)

                          SN#172303A00C98, a Seagate Hard Drive, SN#9VX103EQ,

                          and a USB thumb drive key;

                 d.       An HD SanDisk 2.5" SSD (Model #SDSSDA-120G) SN#

                          174201A0I IBB and a SanDisk Cruzer USB key;

                 e.       An Apple iPhone 12 cellphone, SN#Fl 7DP0K50F04;

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                f.        A Western Digital 320GB Hard Drive (Model# WD3200BPVT)

                          SN# WX91433C5670;

                g.        A Samsung Galaxy AlO cellphone, IMEI # 358099106306541 ;

                 h.       An Apple iPad Mini tablet, SN#FZTLTSUNFP84;

                 1.       An RCA tablet (Model# RCTRCT68);

                J.        A GPTEK :MP3 player;

                 k.       An Apple iPhone 7 cellphone, IMEI # 353837087019202;

                 1.       An Alienware laptop, SN# STJZC0M63;

                 m.       A custom built Desktop computer, SN#

                          MCMH5001GNN5011202001035 ;

                 n.       A Dell Laptop, Service Tag #JJ54XN1 ;

                 o.       A SanDisk USB thumb drive Key;

                 p.       An Apple iPhone cellphone (Model#Al533), IMEI #

                          013988007592489;

                q.        An Apple Watch;

                r.        Seven USB thumb drive keys; and

                s.        Yellow/Gray USB thumb drives.

          13.   Removal -.Consent and Cooperation

                The defendant agrees and consents to removal from the United States

    following completion of the defendant's sentence and agrees to waive the defendant's

   rights to any and all forms of relief from removal or exclusion. The defendant

   further agrees to abandon any pending applications for relief from removal or

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   exclusion, and to cooperate with the Department of Homeland Security during

   removal proceedings.

   B.     Standard Terms and Conditions

              1.   Restitution. SpeciaLAssessment an~Fine

                   The defendant understands and agrees that the Court, in addition to or

   in lieu of any other penalty, shall order the defendant to make restitution to any

   victim of the offenses, pursuant to 18 U.S.C. § 3663A, for all offenses described in 18

    U.S.C. § 3663A(c)(l); and the Court may order the defendant to make restitution to

    any victim of the offenses, pursuant to 18 U.S.C. § 3663 , including restitution as to

    all counts charged, whether or not the defendant enters a plea of guilty to such

    counts, and whether or not such counts are dismissed pursuant to this agreement.

   The defendant further understands that compliance with any restitution payment

    plan imposed by the Court in no way precludes the United States from

   simultaneously pursuing other statutory remedies for collecting restitution (28 U.S.C.

   § 3003(b)(2)), including, but not limited to , garnishment and execution, pursuant to

   the Mandatory Victims Restitution Act, in order to ensure that the defendant's·

   restitution obligation is satisfied.

                   On each count to which a plea of guilty is entered, the Court shall

    impose a special assessment pursuant to 18 U .S.C. § 3013. The special assessment is

    due on the date of sentencing.

                   The defendant understands that this agreement imposes no limitation as

   to fine.

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          2.     Supervised Release

                 The defendant understands that the offense(s) to which the defendant is

   pleading provide(s) for imposition of a term of supervised release upon release from

   imprisonment, and that, if the defendant should violate the conditions of release, the

   defendant would be subject to a further term of imprisonment.

          3.     Immigration Consequences of Pleading Guilty

                 The defendant has been advised and understands that, upon conviction,

   a defendant who is not a United States citizen may be removed from the United

   States, denied citizenship, and denied admission to the United States in the future.

          4.     Sentencing Information

                 The United States reserves its right and obligation to report to the Court

   and the United States Probation Office all information concerning the background,

   character, and conduct of the defendant, to provide relevant factual information,

   including the totality of the defendant's criminal activities, if any, not limited to the

   count(s) to which defendant pleads, to respond to comments made by the defendant

   or defendant's counsel, and to correct any misstatements or inaccuracies. The

   United States further reserves its right to make any recommendations it deems

   appropriate regarding the disposition of this case, subject to any limitations set forth

   herein, if any.

          5.     FinanciaLDisclosures

                 Pursuant to 18 U.S.C. § 3664(d)(3) and Fed. R. Crim. P. 32(d)(2)(A)(ii),

   the defendant agrees to complete and submit to the United States Attorney's Office

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   within 30 days of execution of this agreement an affidavit reflecting the defendant's

   financial condition. The defendant promises that his financial statement and

   disclosures will be complete, accurate and truthful and will include all assets in

   which he has any interest or over which the defendant exercises control, directly or

    indirectly, including those held by a spouse, dependent, nominee or other third party.

   The defendant further agrees to execute any documents requested by the United

   States needed to obtain from any third parties any records of assets owned by the

   defendant, directly or through a nominee, and, by the execution of this Plea

   Agreement, consents to the release of the defendant's tax returns for the previous five

   years. The defendant similarly agrees and authorizes the United States Attorney's

   Office to provide to, and obtain from, the United States Probation Office, the

   financial affidavit, any of the defendant's federal, state, and local tax returns, bank

   records and any other financial information concerning the defendant, for the

   purpose of making any recommendations to the Court and for collecting any

   assessments, fines , restitution, or forfeiture ordered by the Court. The defendant

   expressly authorizes the United States Attorney's Office to obtain current credit

   reports in order to evaluate the defendant's ability to satisfy any financial obligation

   imposed by the Court.

          6.     Sentencing Recommendations

                 It is understood by the parties that the Court is neither a party to nor

   bound by this agreement. The Court may accept or reject the agreement, or defer a

   decision until it has had an opportunity to consider the presentence report prepared

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   by the United States Probation Office. The defendant understands and

   acknowledges that, although the parties are permitted to make recommendations and

   present arguments to the Court, the sentence will be determined solely by the Court,

   with the assistance of the United States Probation Office. Defendant further

   understands and acknowledges that any discussions between defendant or

    defendant's attorney and the attorney or other agents for the government regarding

    any recommendations by the government are not binding on the Court and that,

   should any recommendations be rejected, defendant will not be permitted to

   withdraw defendant's plea pursuant to this plea agreement. The government

   expressly reserves the right to support and defend any decision that the Court may

   make with regard to the defendant's sentence , whether or not such decision is

   consistent with the government's recommendations contained herein.

           7.   Defendant's Waiver of Right to Appeal the Sentence

                The defendant agrees that this Court has jurisdiction and authority to

   impose any sentence up to the statutory maximum and expressly waives the right to

   appeal defendant's sentence on any ground, including the ground that the Court

   erred in determining the applicable guidelines range pursuant to the United States

   Sentencing Guidelines, except (a) the ground that the sentence exceeds the

    defendant's applicable guidelines range as determined by the Court pursuant to the

   United States Sentencing Guidelines; (b) the ground that the sentence exceeds the

   statutory maximum penalty; or (c) the ground that the sentence violates the Eighth

   Amendment to the Constitution; provided, however, that if the government exercises

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    its right to appeal the sentence imposed, as authorized by 18 U.S.C. § 3742(b), then

    the defendant is released from his waiver and may appeal the sentence as authorized

   by 18 U.S.C. § 3742(a).

           8.     Middle District__0f Florida Agrrement

                  It is further understood that this agreement is limited to the Office of the

    United States Attorney for the Middle District of Florida and cannot bind other

    federal, state, or local prosecuting authorities, although this office will bring

    defendant's cooperation, if any, to the attention of other prosecuting officers or

    others, if requested.

           9.     Filing of Agreement

                  This agreement shall be presented to the Court, in open court or in

    cameia, in whole or in part, upon a showing of good cause, and filed in this cause, at

    the time of defendant's entry of a plea of guilty pursuant hereto.

            10.   Voluntariness

                  The defendant acknowledges that defendant is entering into this

    agreement and is pleading guilty freely and voluntarily without reliance upon any

   discussions between the attorney for the government and the defendant and

   defendant's attorney and without promise of benefit of any kind (other than the

   concessions contained herein), and without threats, force, intimidation, or coercion

   of any kind. The defendant further acknowledges defendant's understanding of the

   nature of the offense or offenses to which defendant is pleading guilty and the

   elements thereof, including the penalties provided by law, and defendant's complete

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    satisfaction with the representation and advice received from defendant's

    undersigned counsel (if any). The defendant also understands that defendant has the

    right to plead not guilty or to persist in that plea if it has already been made, and that

    defendant has the right to be tried by a jury with the assistance of counsel, the right

    to confront and cross-examine the witnesses against defendant, the right against

    compulsory self-incrimination, and the right to compulsory process for the

    attendance of witnesses to testify in defendant's defense; but, by pleading guilty,

    defendant waives or gives up those rights and there will be no trial. The defendant

    further understands that if defendant pleads guilty, the Court may ask defendant

    questions about the offense or offenses to which defendant pleaded, and if defendant

    answers those questions under oath, on the record, and in the presence of counsel (if

    any), defendant's answers may later be used against defendant in a prosecution for

    perjury or false statement. The defendant also understands that defendant will be

    adjudicated guilty of the offenses to which defendant has pleaded and , if any of such

    offenses are felonies , may thereby be deprived of certain rights , such as the right to

    vote, to hold public office , to serve on a jury, or to have possession of firearms .

           11.    Factual Basis

                  Defendant is pleading guilty because defendant is in fact guilty. The

    defendant certifies that defendant does hereby admit that the facts set forth below are

    true , and were this case to go to trial, the United States would be able to prove those

   specific facts and others beyond a reasonable doubt.




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                                            FACTS

                 The Net Walker Ransomware was a specific type of malicious software

    (malware) that was used to compromise and restrict access to a victim's computer

    network in an effort to extort a ransom. Conspirators used NetWalker not only to

    encrypt victim data, but also used the malware to steal sensitive data from victims. If

    a victim did not pay the ransom, conspirators would refuse to decrypt victim data

    and would publish the sensitive, stolen data online. The stolen data was often

    published on a dark web website named "the NetWalker Blog," which existed for the

    primary purpose of facilitating the publication of stolen victim data.

                 NetWalker operated as ransomware-as-a-service ("RaaS"), featuring

    Russia-based developers and affiliates who resided all over the world. Under the

    RaaS model, developers were responsible for creating and updating the ransomware,

    and making it available to affiliates. Affiliates were responsible for identifying and

    attacking high-value victims with the ransomware. After a victim paid, developers

    and affiliates split the ransom. Sebastien Vachon-Desjardins was one of the most

    prolific NetWalker Ransomware affiliates.

                 Victim 1 was a company located in Tampa, Florida. On or about April

    30, 2020, Vachon-Desjardins gained unauthorized access to Victim 1's network and

    began surreptitiously elevating his privileges within the network while spreading the

    ransomware from workstation to workstation. On or about May 1, 2020, Vachon-

    Desjardins caused a ransom note to be delivered to several of Victim l's




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   workstations. The ransom note, which has been recreated in part below, indicated

   that Victim l 's network had been compromised by the NetWalker Ransomware.

                Hi! Your files are encrypted by Netwalker ... If for some
                reason you read this text before the encryption ended, this
                can be understood by the fact that the computer slows
                down, and your heart rate has increased due to the ability
                to tum it off, then we recommend that you move away from
                the computer and accept that you have been compromised.
                Rebooting/shutdown will cause you to lose files without
                the possibility of recovery ... Our encryption algorithms
                are very strong and your files are very well protected, the
                only way to get your files back is to cooperate with us and
                get the decrypter program. Do not try to recover your files
                without a decrypter program, you may damage them and
                then they will be impossible to recover. For us this is just
                business.

                The ransom note also provided Victim 1 with a unique code and the

   URL to a website hosted on the dark web ("NetWalker Tor Panel"). To gain access

   to the NetWalker Tor Panel, a victim had to enter the unique code provided in the

   ransom note. After gaining entrance , each victim was provided with the amount of

   ransom demanded in bitcoin and instructions for payment. The ransom demanded of

   Victim 1 was $300,000 in bitcoin, which Victim 1 did not pay. Victim 1, however,

   estimated having spent approximately $1.2 million to respond to the attack, contain

   its damage, and restore operations to normal.

                During the course of the investigation, law enforcement identified and

   seized copies of the server that operated as the backend, or internal-facing, server of

   the NetWalker Tor Panel and the NetWalker Blog. This server contained detailed


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   transactional information as to the NetWalker developers and affiliates. The

   transactional records revealed that during the course of the conspiracy,

    approximately 100 affiliates had been active, and victims had paid approximately

   5,058 bitcoin in ransoms (an approximate total of $40 million USD based on the

   value ofbitcoin at the time of each transaction). These records also tied Vachon-

   Desjardins to the successful extortion of approximately 1,864 bitcoin in ransoms (an

   approximate total of $21 .5 million USD based on the value ofbitcoin at the time of

   each transaction) from dozens of victim companies across the world, including

   Victim 1.

                Vachon-Desjardins was linked to NetWalker Ransomware attacks in a

   number of ways, including, but not limited to, the following: (1) his research of

   Net Walker victims and victim network vulnerabilities; (2) his control of servers that

   housed hacking tools- including those used to perform reconnaissance, elevate

   privileges, and steal information from a computer or network-which had been used

   to perpetrate NetWalker attacks; (3) his operation of accounts responsible for posting

   stolen victim data on the NetWalker Blog; and (4) his receipt of ransoms paid out by

   NetWalker victims.

                On or about January 27 and 28, 2021 , the Royal Canadian Mounted

   Police executed search warrants at Vachon-Desjardins' home and on safe deposit

   boxes held by Vachon-Desjardins at National Bank, Gatineau, QC. During these

   searches, law enforcement seized, among other assets , all bitcoin contained in the

   defendant's BTC Wallet 3Pxki6pFFKC12YSn8JtDs3ZrEg3pFTHnHd. This seized

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      bitcoin was derived primarily from ransom funds paid by victims of

      NetWalker Ransomware attacks.

            12.    Entire Agreement

                   This plea agreement constitutes the entire agreement between the

      government and the defendant with respect to the aforementioned guilty plea

      and no other promises, agreements , or representations exist or have been

      made to the defendant or defendant's attorney with regard to such guilty plea.

            13.    Certification

                   The defendant and defendant's counsel certify that this plea

      agreement has been read in its entirety by ( or has been read to) the defendant

      and that defendant fully understands its terms .

            DATED this     ~ 3"' ~ day of f'l\ er,. y      , 2022.

                                                 ROGER B. HANDBERG
                                                 United States Attorney


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      Sebastien Vachon-Desjardins
                                                     ~
                                                 Carlton C . Gammons
      Defendant                                  Assistant United States Attorney
                                                 Deputy Chief, Economic Crimes Section



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                                                  achelle DesVaux Bedke
                                                 Assistant United States Attorney
                                                 Chief, Economic Crimes Section




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